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Attorneys for Defendants

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

Bertha Aranda Glatt,
No. 4:16-CV-05108-LRS
Plaintiff,
Vv. (PROPOSED) ORDER APPROVING
JOINT MOTION FOR
CITY OF PASCO, MATT WATKINS, MODIFICATION TO
in his official capacity as Mayor of MEMORANDUM OPINION AND

Pasco, and REBECCA FRANCIK, BOB | ORDER RE: REMEDIAL PLAN
HOFFMANN, TOM LARSEN, SAUL MAP TO ACCOMMODATE
MARTINEZ, and AL YENNEY, in their} MINOR CHANGES REQUESTED
official capacity as members of the Pasco) BY THE FRANKLIN COUNTY
City Council, AUDITOR

Defendants. (without oral argument
Expedited Hearing Requested)

(PROPOSED) ORDER KERR LAW GROUP
APPROVING JOINT MOTION 7025 WEST GRANDRIDGE BLVD., SUITEA
FOR MODIFICATION TO KENNEWICK, WASHINGTON 99336
MEMORANDUM OPINION AND PHONE (509) 735-1542

ORDER - 1

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Case 4:16-cv-05108-LRS ECF No. 46 _ filed 05/02/17 PagelD.719 Page 2 of 9

THIS MATTER having regularly come before the above-entitled Court on
the joint motion of the parties requesting the Court’s exercise of its continuing
jurisdiction to modify the Memorandum Opinion and Order, and Judgment entered
on January 27, 2017.

The Court has reviewed the Stipulated Motion of the parties, the pleadings
and files of record, and is fully advised in the premises, NOW, THEREFORE,

IT IS HEREBY ORDERED that:

1. The Voting District Map attached to the Memorandum Opinion and
Order, and Judgment dated January 27, 2017, shall be modified by substitution of
the City Council District Map (April 2017), as attached to this Order as Exhibit A.

2. That all the remaining terms and conditions of the Memorandum
Opinion and Order, and Judgment shall remain in full force and effect.

3. The City Council of the City of Pasco, Washington, is authorized to
adopt a proposed Ordinance incorporating the above minor modified boundaries,

as attached to this Order as Exhibit B.

UNITED STATES DISTRICT COURT JUDGE
LONNY R. SUKO

(PROPOSED) ORDER KERR LAW GROUP
APPROVING JOINT MOTION 7025 WEST GRANDRIDGE BLVD., SUITEA
FOR MODIFICATION TO KENNEWICK, WASHINGTON 99336
MEMORANDUM OPINION AND PHONE (509) 735-1542

ORDER - 2

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Case 4:16-cv-05108-LRS ECF No. 46 _ filed 05/02/17

Presented By:

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PROPOSED) ORDER
PROVING JOINT MOTION

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KERR LAW GROUP

7025 WEST GRANDRIDGE BLVD., SUITEA

FOR MODIFICATION TO KENNEWICK, WASHINGTON 99336
MEMORANDUM OPINION AND PHONE (509) 735-1542

ORDER - 3

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Case 4:16-cv-05108-LRS ECF No. 46 _ filed 05/02/17 PagelD.721 Page 4 of 9

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(PROPOSED ORDER KERR LAW GROUP
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FOR MODIFICATION TO KENNEWICK, WASHINGTON 99336
MEMORANDUM OPINION AND PHONE (509) 735-1542

ORDER - 4

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CERTIFICATE OF SERVICE

I hereby certify that on this 2"! day of May, 2017, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF System which will send
notification of such filing to the following:

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PROPOSED) ORDER KERR LAW GROUP
PROVING JOINT MOTION 7025 WEST GRANDRIDGE BLVD., SUITEA
FOR MODIFICATION TO KENNEWICK, WASHINGTON 99336
MEMORANDUM OPINION AND PHONE (509) 735-1542

ORDER - 5

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Council Voting Districts:

Pasco Council District 1

Pasco Council District 2

Pasco Council District 3

Pasco Council District 4

Pasco Council District 5

Pasco Council District 6

Proposed City of Pasco Council Districts
April 2017

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ORDINANCE NO.

AN ORDINANCE of the City of Pasco, Washington amending Chapter
1.10 of the Pasco Municipal Code regarding “Voting Districts.”

WHEREAS, The American Civil Liberties Union (ACLU) of Washington, in March
2016, notified the City that it believed the City’s then election system violated the federal Voting
Rights Act (VRA); and

WHEREAS, following a lawsuit filed by the ACLU, the City and ACLU jointly entered
a proposed a “Partial Consent Decree” which identified the likely violation of the VRA and
sought to establish jurisdiction of the Federal Court to order an appropriate remedy to address the
violation; and

WHEREAS, on September 2, 2016 Judge Lonny Suko of the United States District
Court for the Eastern District of Washington granted the Partial Consent Decree thereby ordering
that the City must, in order to remedy a violation of Section 2 of the Federal Voting Rights Act,
implement a new election system; and

WHEREAS, the City Council held, after due notice, a public hearing on September 6 to
take comments and evaluate the options for district-based voting and the Council determined that
the six-district/one at-large alternative was preferred due to its providing three Latino citizen
voter-age majority districts, the same number as possible under the ACLU’s preferred seven
district plan; and

WHEREAS, on October 3, 2016, the City Council held, after due notice, a public
hearing on the six-district plan boundary alternatives, to receive and consider public comment on
the alternative boundary plans; and

WHEREAS, the Council, after due and deliberate consideration, adopted Ordinance No.
4315, establishing a six-district/one at-large plan for City Council elections; and

WHEREAS, on January 27, 2017 Judge Suko issued an order approving the City
Council election plan as submitted; and

WHEREAS, the Franklin County Auditor, in order to efficiently conduct elections for
several jurisdictions where each jurisdiction contains a number of district boundaries, has
requested that minor adjustments be made to Pasco’s City Council District boundaries, in order
to simplify and minimize disruption in the boundaries for districts in other jurisdictions in the
creation of the voting precincts essential to the conduct of elections; and

WHEREAS, the City Council has determined that the adjustments affect only a limited
number of potential voters and maintain the intent and purpose of the six-district/one at-large
plan as approved by the Federal Court; and

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WHEREAS, in the January 27, 2017 order, Judge Suko retained the Court’s jurisdiction

over the City’s voting districts until 45 days after certification of the November 2017 election
results; and

WHEREAS, the City and the ACLU have jointly petitioned the Court for approval of the
district boundary adjustments requested by the County Auditor; and

WHEREAS,

NOW, THEREFORE,

THE CITY COUNCIL OF THE CITY OF PASCO, WASHINGTON, DOES
ORDAIN AS FOLLOWS:

Section 1. That Section 1.10.020 entitled “District One” of the Pasco Municipal Code,
shall be and hereby is amended to read as follows:

1.10.020 DISTRICT ONE. Voting district one shall encompass the area within the City
of Pasco comprised of precinct numbers five, nine, ten, fourteen and fifteen (5, 9, 10, 14 and 15);
as those precincts are described on the maps and property descriptions on file with the Auditor of
Franklin County.

Section 2. That Section 1.10.030 entitled “District Two” of the Pasco Municipal Code,
shall be and hereby is amended to read as follows:

1.10.030 DISTRICT TWO. Voting district two shall encompass the area within the City
of Pasco comprised of precinct numbers two, three, thirteen, seventeen and eighteen (2, 3, 13, 17
and 18); as those precincts are described on the maps and property descriptions on file with the
Auditor of Franklin County.

Section 3. That Section 1.10.040 entitled “District Three” of the Pasco Municipal Code,
shall be and hereby is amended to read as follows:

1.10.040 DISTRICT THREE. Voting district three shall encompass the area within the
City of Pasco comprised of precinct numbers one, eight, twenty-two, twenty-three, twenty-four,
thirty-two, thirty-three, thirty-four, thirty-five, thirty-seven, thirty-eight, thirty-nine, forty-two,
forty-three, forty-four and one-hundred and two (1, 8, 22, 23, 24, 32, 33, 34, 35, 37, 38, 39, 42,
43, 44 and 102); as those precincts are described on the maps and property descriptions on file
with the Auditor of Franklin County.

Section 4. That Section 1.10.050 entitled “District Four” of the Pasco Municipal Code,
shall be and hereby is amended to read as follows:

1.10.050 DISTRICT FOUR. Voting district four shall encompass the area within the City

of Pasco comprised of precinct numbers forty, forty-five, forty-six, forty-seven, fifty, fifty-one
fifty-two, fifty-three, fifty-four and fifty-five (40, 45, 46, 47, 50, 51, 52, 53, 54, and 55); as those

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precincts are described on the maps and property descriptions on file with the Auditor of
Franklin County.

Section 6. That Section 1.10.060 entitled “District Five” of the Pasco Municipal Code,
shall be and hereby is amended to read as follows:

1.10.060 DISTRICT FIVE. Voting district five shall encompass the area within the City
of Pasco comprised of precinct numbers nineteen, twenty, twenty-one, twenty-five, twenty-six,
twenty-seven, twenty-eight, twenty-nine, thirty, thirty-one, thirty-six, forty-one, forty-eight,
forty-nine, fifty-six, fifty-seven, fifty-eight, fifty-nine, sixty, sixty-two, sixty-three, sixty-five,
sixty-six, and sixty-seven (19, 20, 21, 25, 26, 27, 28, 29, 30, 31, 36, 41, 48, 49, 56, 57, 58, 59,
60, 62, 63, 65, 66 and 67); as those precincts are described on the maps and property
descriptions on file with the Auditor of Franklin County.

Section 7. That Section 1.10.070 entitled “District Six” of the Pasco Municipal Code,
shall be and hereby is amended to read as follows:

1.10.070 DISTRICT SIX. Voting district six shall encompass the area within the City of
Pasco comprised of precinct numbers four, six, seven, eleven, twelve and sixteen (4, 6, 7, 11, 12
and 16); as those precincts are described on the maps and property descriptions on file with the
Auditor of Franklin County.

Section 8. This ordinance shall take full force and effect five days after its approval,
passage and publication as required by law.

PASSED by the City Council of the City of Pasco, Washington, and approved as

provided by law this day of , 2017.

Matt Watkins, Mayor

ATTEST: APPROVED AS TO FORM:
Sandy Kenworthy, Interim City Clerk Leland B. Kerr, City Attorney

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